                         STATE OF LOUISIANA
             DEPARTMENT OF PUBLIC SAFETY AND CORRECTIONS
                        CORRECTIONS SERVICES

Health Care Policy
No. HC–16                                                                27 August 2010



     ELECTIVE PROCEDURES, PROSTHESES AND ORTHODONTIC DEVICES

1.    REFERENCES:           ACA Standards 4-4375 and 4-4398 (Adult Correctional
      Institutions); Louisiana Constitution Art. 1 § 3 "Right to Individual Dignity" and §
      12 "Freedom from Discrimination;" Americans with Disabilities Act of 1990 (ADA)
      as amended; Civil Rights for Handicapped Persons La. R.S. 46:2251 et seq.;
      Rehabilitation Act of 1973; 28 C.F.R. § 35.104 and 28 C.F.R. § 39.103; La. R.S.
      40:731 et seq., 46:2365, 49:145 et seq. and 51:2231 et seq.; Department
      Regulation Nos. B-08-010 "Americans with Disabilities Act," B-08-018 "Effective
      Communication with the Hearing Impaired" and Health Care Policy Nos. HC-02
      "Healthcare Co-Payments" and HC-15 "Duty Status Classification System."

2.    PURPOSE: To state the general guidelines regarding departmental policies
      concerning the provision of medical/dental auxiliary aids or adaptive devices,
      elective procedures or surgery for offenders.

3.    DEFINITIONS:

      A.     Elective procedure: Any planned non-emergency procedure. It may be
             either medically necessary (e.g., cataract surgery, routinely scheduled
             heart surgery, etc.) or optional (e.g., cosmetic, etc.)

      B.     Individualized devices/aids: Those that cannot be used by others
             (including but not limited to eye glasses, dentures, hearing aids, etc.)

      C.     Major life activity: Walking, seeing, hearing, breathing, caring for one's
             self, sitting, standing, lifting, learning, thinking and working. This list is
             illustrative only.

      D.     Medically necessary procedure: Treatments/procedures routinely
             prescribed by health care providers to maintain/preserve basic health
             and/or functionality (e.g., cardiac bypass surgery, gallbladder removal,
             surgical treatments of various cancers, spinal surgeries, orthopedic
             surgeries, etc.)
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      E.    Non-individualized devices/aids: Those that can be used by multiple
            users (including but not limited to wheelchairs, canes, walkers, CPAP
            machines, etc.)

      F.    Non-medically necessary procedure: Procedure that is not necessary to
            preserve basic health (including but not limited to replacing missing front
            teeth, cosmetic surgery, tattoo removal, Lasik eye surgery, etc.)

4.    POLICY: It is the Secretary’s policy to provide medically necessary elective
      procedures or surgeries for offenders and to ensure medical/dental auxiliary aids
      or adaptive devices (including but not limited to eyeglasses, hearing aids,
      dentures, wheelchairs or other prosthetic devices, etc.) are provided when
      medically necessary as determined by a health care provider (approval by the
      unit’s Medical Director may be required.)

5.    PROCEDURES:

      A.    Elective Procedures

            Non-medically necessary elective procedures are not routinely provided.
            In exceptional cases when a procedure that is non-medically necessary is
            recommended, the unit's Medical Director shall notify the Warden, who
            shall submit a written request to the Department’s Medical/Mental Health
            Director for consideration. If approved, a clinic visit or procedure shall
            then be scheduled.

      B.    Prostheses and Orthodontic Devices

            1)     The unit’s Medical Director shall screen all referrals for
                   appropriateness and compliance with departmental policy regarding
                   medical prosthesis and devices.

            2)     Prior to purchasing any alternate prostheses/devise, should the unit
                   Medical Director have institutional safety concerns regarding a
                   specific prosthetic device, the appropriate Security Administrator
                   shall be consulted. If the concerns are validated, an alternate
                   prostheses/devise shall be considered. If necessary, the unit
                   Warden may consult with the Department's Medical/Mental Health
                   Director to reach a final disposition.

            3)     Basic auxiliary aids/prosthetic devices that are deemed medically
                   necessary shall be provided by the Department. The Department
                   shall not provide aids or devices that are cosmetically or otherwise
                   enhanced and that do not provide any additional medical benefit.
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            4)    A medical co-payment charge may be assessed to the offender in
                  accordance with Health Care Policy No. HC-02 "Medical Co-
                  Payment" for individualized medical prostheses and orthodontic
                  devices. Replacement of devices that were damaged, broken or
                  lost due to obvious negligence shall be replaced at the discretion of
                  the unit's Medical Director; however, a co-payment shall be applied
                  each time the device is replaced. The Department shall provide for
                  the routine maintenance and repair of the device that occurs
                  through normal usage by the offender as outlined in the
                  manufacture’s guidelines.

            5)    There shall be no co-payment for non-individualized auxiliary
                  aids/adaptive devices, prosthetic devices or medical devices
                  furnished by the Department and the offender shall return these
                  items to the medical department of the unit prior to release. The
                  Warden or designee is authorized to allow an offender to be
                  released from custody with a non-individualized device in
                  exceptional cases.

            6)    If indicated, when an auxiliary aid/adaptive devise or a prosthetic
                  devise is issued to an offender, the unit's medical provider shall
                  ensure that an appropriate duty status clearly stating the offender’s
                  limitations and/or required accommodations is issued as outlined in
                  Health Care Policy No. HC-15 "Duty Status Classification System."

      C.    Eyeglasses

            1)    The Department shall furnish prescription eyeglasses to any
                  offender requiring them, as documented through a professional
                  prescription.

            2)    Reading glasses may be purchased through the offender canteen
                  or purchased by the Department.

            3)    Offenders having glasses upon admission may retain the glasses
                  once approved by security to ensure that the model of device
                  addresses institutional safety concerns. Glasses shall not be
                  allowed from an outside source unless approved by the Warden or
                  designee.
            4)    The Department shall provide new eyeglasses if the offender’s
                  prescription changes greater than ½ diopter sphere or cylinder or
                  the addition of increased power is indicated.
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            5)    The Department shall not provide contact lenses and/or contact
                  lens maintenance supplies to an offender in lieu of eye glasses. If
                  a unit allows offenders to purchase their own contact lenses
                  through an approval process, then the offender shall be responsible
                  for contact lens solution or any other necessary supplies in addition
                  to future costs of replacements.

      D.    Dental Adaptive Devices

            A dental prosthesis may be provided to offenders in cases where the
            number and location of missing teeth make proper mastication too difficult
            and/or when the health of the offender would be adversely affected for this
            reason, as determined by the dentist. However, the Department is not
            required to replace missing teeth, regardless of when or where the teeth
            were removed. A dental prosthesis shall not be considered if any of the
            following conditions are present:

            •     Poor periodontal health;
            •     Poor oral hygiene;
            •     Non-restorable teeth present;
            •     Chronic infection;
            •     Restorations have not been completed;
            •     Eight or more posterior teeth in occlusion, to include bicuspid
                  occlusion;
            •     The offender has less than one year remaining on his sentence.

      E.    Hearing Aids

            1)    The supplying of hearing aids to offenders is addressed pursuant to
                  Department Regulation No. B-08-010 "Americans with Disability
                  Act."

            2)    The current Occupational Safety and Health Administration (OSHA)
                  standards shall be utilized to determine if an offender can be
                  assisted by the use of a hearing aid. At intake, an initial hearing
                  test shall be scheduled for those offenders identified as possibly
                  hard of hearing or deaf. An offender may request a hearing test if
                  his hearing has degenerated during the course of his incarceration.
                  This request may also be made for the offender by a staff member.
                  The request shall be made utilizing Form A-02-017-A "Request for
                  Accommodation" in accordance with Department Regulation No. B-
                  08-018 "Effective Communication with the Hearing Impaired." If the
                  hearing test reveals that a hearing aid is medically warranted, the
                  appropriate steps shall be initiated to provide the offender with an
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                   aid. Further, the offender shall be given an option to remain at his
                   current facility or to administratively transfer to one of the
                   specialized facilities for deaf or hearing impaired offenders (LSP,
                   RCC or LCIW.) The location of the transfer shall be determined by
                   the Office of Adult Services.

        F.   Prosthetic Device

             1)    A prosthesis or artificial device (including wheelchairs, etc.) to
                   replace a missing body part or to cope with a disability which
                   prohibits major life activities, may be provided if deemed essential
                   for overall health maintenance by the unit's Medical Director in
                   consultation with the Warden.

             2)    The prosthesis shall meet the minimum requirements of the
                   function.

             3)    A prosthetic device of a cosmetic nature only, shall not be provided
                   unless approved by the Warden and the Department’s
                   Medical/Mental Health Director with adequate written justification
                   from the unit’s Medical Director.

             4)    The prosthesis may be replaced due to normal wear and tear at the
                   discretion of the unit's Medical Director.

             5)    Offenders having a prosthetic device upon admission may be
                   allowed to keep the device at the discretion of the unit Medical
                   Director. If approved, this device shall be considered personal
                   property and shall be allowed to leave with the offender upon
                   discharge.



s/James M. Le Blanc
Secretary

Form:        A-02-017-A Request for Accommodation

This policy supersedes Health Care Policy No. HC-16 dated 12 August 2010.
